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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    VIRGINIA M LAMBRIX, et al.,                    Case No. 23-cv-01145-TLT
                                                       Plaintiffs,
                                   8
                                                                                       MODIFICATION OF ECF 56, 59:
                                              v.                                       REVISED CASE MANAGEMENT AND
                                   9
                                                                                       SCHEDULING ORDER
                                  10    TESLA, INC.,
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13        Pursuant to Federal Rule of Civil Procedure 16 and Civil Local Rule 16-10, THE

                                  14   FOLLOWING DEADLINES ARE HEREBY ORDERED:

                                  15
                                             1. TRIAL DATE:                              June 15, 2026
                                  16                                                     No. of Days: 15
                                  17                                                     Courtroom 9, 19th Floor
                                                                                         Jury Trial
                                  18
                                  19         2. FINAL PRETRIAL CONFERENCE:               May 21, 2026
                                                                                         LEAD COUNSEL WHO WILL TRY
                                  20
                                                                                         THE CASE MUST ATTEND
                                  21                                                     Last day to file joint pretrial statement,
                                                                                         including objections: April 27, 2026
                                  22

                                  23         3. DISPOSITIVE MOTIONS:                     Last day to file dispositive and Daubert
                                                                                         motions: November 24, 2025
                                  24
                                                                                         Last day to file oppositions to dispositive
                                  25                                                     and Daubert motions: December 19, 2025
                                                                                         Last day to file replies in support of
                                  26                                                     dispositive and Daubert motions: January
                                                                                         16, 2025
                                  27
                                                                                         Dispositive and Daubert motion hearing:
                                  28
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                                                                                 February 17, 2026, 2:00 p.m.
                                   1                                             See Civil Local Rules for notice and
                                   2                                             filing requirements.

                                   3
                                            4. FACT DISCOVERY CUT-OFF:           July 25, 2025
                                   4

                                   5
                                            5. MERITS EXPERT REPORTS:            Opening reports by September 2, 2025
                                   6                                             Rebuttal reports by October 20, 2025

                                   7
                                            6. EXPERT DISCOVERY CUT-OFF:         November 10, 2025
                                   8

                                   9
                                            7. ADR:                              November 24, 2025
                                  10
                                            8. CLASS CERTIFICATION MOTION        Last day to file Motion for Class
                                  11                                             Certification: March 10, 2025
                                                                                 Last day to file opposition to Motion for
                                  12                                             Class Certification: April 10, 2025
Northern District of California
 United States District Court




                                                                                 Last day to file reply in support of Motion
                                  13
                                                                                 for Class Certification: May 1, 2025
                                  14
                                                                                 Motion for Class Certification Hearing:
                                  15                                             June 10, 2025
                                  16        9. CLASS CERTIFICATION EXPERT        Class Certification Expert Opening Report
                                  17           REPORTS                           (Plaintiffs) by December 20, 2024
                                                                                 Class Certification Expert Opposing
                                  18                                             Reports (Tesla) by January 27, 2024
                                                                                 Class Certification Expert Rebuttal
                                  19                                             Reports by February 24, 2024
                                  20

                                  21        10. SUBSTANTIAL COMPLETION OF        October 1, 2024
                                                PRODUCTION OF DOCUMENTS          October 29, 2024 (if needed)
                                  22            RESPONSIVE TO FIRST SET OF
                                                REQUESTS FOR PRODUCTION
                                  23
                                            11. FURTHER STATUS CONFERENCE        September 26, 2024, and every 90 days
                                  24            AND REVIEW OF DOCUMENT           thereafter
                                  25            PRODUCTION:

                                  26        12. DEFENDANT’S ANSWER TO            July 15, 2024
                                                COMPLAINT:
                                  27
                                            13. DISCOVERY PLAN, PROTECTIVE       July 15, 2024
                                  28
                                                ORDER, AND ESI PROTOCOL
                                                                         2
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                                              IT IS FURTHER ORDERED that parties and counsel refer to and comply with Judge
                                   3
                                       Thompson’s Civil Standing Order and Civil Pretrial and Jury Trial Standing Order or Civil Pretrial
                                   4
                                       and Bench Trial Standing Order located on the court’s website (https://cand.uscourts.gov/trina-l-
                                   5
                                       thompson/).
                                   6
                                                                                  JURY TRIAL
                                   7
                                              The Court will take cause challenges and discuss hardship claims at side bar. The Court
                                   8
                                       will inform counsel which hardship claims and cause challenges will be granted, but will not
                                   9
                                       announce those dismissals until the selection process is completed. Peremptory challenges will be
                                  10
                                       made in writing. The Court will strike at one time those with meritorious hardship claims, those
                                  11
                                       excused for cause, and those challenged peremptorily, and then seat the first six to eight people
                                  12
Northern District of California
 United States District Court




                                       remaining in numerical order.
                                  13
                                              The Court will send out to prospective jurors in advance of trial an electronic questionnaire
                                  14
                                       soliciting information. In addition, if the parties wish to submit proposed voir dire questions, the
                                  15
                                       parties must meet and confer and file a joint set of proposed questions that the Court may add to
                                  16
                                       the electronic questionnaire. The parties will receive the responses prior to the in-court voir dire.
                                  17

                                  18
                                                                 SCHEDULING ORDER MODIFICATIONS
                                  19
                                              No provision of this order may be changed except by written order of this Court upon its
                                  20
                                       own motion or upon motion of one or more parties made pursuant to Civil Local Rule 7-11 with a
                                  21
                                       showing of good cause. Parties may file a formal brief, but a letter brief will suffice. The
                                  22
                                       requesting party shall serve the opposing party on the same day the motion is filed and the
                                  23
                                       opposing party shall submit a response as soon as possible but no later than four days after service.
                                  24
                                              If the modification sought is an extension of a deadline contained herein, the motion must
                                  25
                                       be brought at least seven (7) days before expiration of that deadline. The parties may not modify
                                  26
                                       the pretrial schedule by stipulation. A conflict with a court date set after the date of this order
                                  27
                                       does not constitute good cause. The parties are advised that if they stipulate to a change in the
                                  28
                                                                                         3
                                        Case 3:23-cv-01145-TLT           Document 167       Filed 06/28/24    Page 4 of 4




                                   1   discovery schedule, they do so at their own risk. The only discovery schedule that the Court will

                                   2   enforce is the one set in this order.

                                   3             IT IS SO ORDERED.

                                   4   Dated: June 27, 2024

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                                                                                                  TRINA L. THOMPSON
                                   7                                                              United States District Judge
                                   8
                                       3/14/26
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                                  12
Northern District of California
 United States District Court




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